Case 2:05-CV-02457-SHI\/|-STA Document 3 Filed 08/23/05 Page 1 of 2 Page|D 1

m THE UNITED sTATEs DISTRICT coURT:Fu'ED BY\ "-- D'c'

 

FOR THE wESTERN DISTRICT oF TENNESSE
wEsTERN DIvISIoN EMUG 23 m 5’ 52
mMTGWED_
U.EH( U`S. D|STB§CT COURI
AARON J. COHN, w/b(}§ `!:“~;, i“'.¢EMPHiS
Plaintiff,
vs. No. 05-2457-MaA

JAMES A. BALOGH AND GARY W. BECKER,
INDIVIDUALLY AND D/B/A BALOGH BECKER,
LTD., DIANA THEOS, COLLECTCORP
CORPORATION, AND CITIBANK (SOUTH
DAKOTA) NA,

Defendants.

 

ORDER OF DISMISSAL

 

Before the court is plaintiff's motion to dismiss indicating
that this matter may be dismissed. It is therefore ORDERED that
this case is DISMISSED as to all defendants.

Entered this 1’ day of August, 2005.

_ J¢///»wl,`

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Twsdmwmemememdemmedod@t§meunco imme
Wn_h Hu!e 55 and/or fe(a} FHCP on ' 'O

 

UNITED`TATES DISTRICT C URT - W sTERN D sTlCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02457 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

Jerry R. Givens

THE COHN LAW FIRM
291 Germantown Bend Cove
Cordova, TN 38018

Honorable Samuel Mays
US DISTRICT COURT

